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                         IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF NEW MEXICO


LISA A. KENNICOTT, LISA A. GARCIA,
and SUE C. PHELPS, on behalf of themselves
and a class of those similarly situated,

                       Plaintiffs,
v.                                                            Case No. 1:17-cv-00188-JB-GJF

SANDIA CORPORATION d/b/a SANDIA
NATIONAL LABORATORIES,

                       Defendant.


              SANDIA’S SUPPLEMENTAL POST-HEARING BRIEF
      IN SUPPORT OF SANDIA’S MOTION TO DISMISS STATE LAW CLAIMS

       On January 19, 2018, the Court heard oral argument on Defendant’s Motion to Dismiss

State Law Claims (“Motion to Dismiss”) (Doc. No. 14).              During the hearing, the Court

expressed concern regarding the proper analysis for determining application of the federal

enclave doctrine. See, e.g., Transcript of 1/19/18 Hearing (“Tr.”), relevant parts attached as

Exhibit A, at 2-5. The Court granted Sandia’s request to submit a post hearing brief addressing

the Court’s concerns. Tr. 27:21 – 28:8 (“I won’t certainly turn down any additional thoughts

you have about the issues.”); see also, D.N.M. LR-Civ. 7.4(b) (“The filing of a surreply

requires leave of the Court.”).      This Supplemental Post-Hearing Brief clarifies Sandia’s

position regarding how the federal enclave doctrine should be applied in this case to preclude

Plaintiffs’ state law claims.1



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  Instead of reiterating all of the points Sandia made in its previous briefs addressed to the same
subject, and in the interest of brevity, this Supplemental Brief is limited to further explaining the
position Sandia took in its Response to Plaintiffs’ Supplemental Submission in Support of
Plaintiffs’ Opposition to Defendant’s Motion To Dismiss State Law Claims (“Sandia’s
Supplemental Response”) (Doc. No. 65) and the position Sandia took at the January 19 hearing.
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       The primary basis of Sandia’s motion to dismiss state law claims is this Court’s decision

in Benavidez v. Sandia National Laboratories, et al., 212 F. Supp. 3d 1039, 1094-1097 (D.N.M.

2016) which appropriately determined that a plaintiff cannot pursue state law claims stemming

from employment on Kirkland Air Force Base (“KAFB”) under the federal enclave doctrine.

That decision is sound. In responding to Defendants’ Motion to Dismiss State Law Claims,

Plaintiffs asserted that under Camargo v. Gino Morena Enters., L.L.C., 2010 WL 3516186, at * 2

(W.D. Tex., Sept. 2, 2010), the determining factor is the place where the alleged discriminatory

decision was made.

       In supplemental briefing on the motion to dismiss, Sandia responded to Plaintiffs’

reliance on Camargo by stating that even under Camargo dismissal is appropriate because the

place where Plaintiffs worked is the same as the “locus of decision-making.” Camargo v. Gino

Morena Enters., L.L.C., 2010 WL 3516186, at * 2 (W.D. Tex., Sept. 2, 2010). At the January 19

hearing, the Court questioned Sandia’s reliance on Camargo which applied a different analysis

than the one used by this Court in Benavidez. Sandia did not abandon the rationale in Benavidez

and continues to maintain that the determining factor for applying the federal enclave doctrine is

the place where a plaintiff worked because that is the place where the alleged injury occurred.

Sandia’s arguments around Camargo were simply intended to convey that even if Camargo set

forth the applicable standard, dismissal is still appropriate because all relevant decisions occurred

on KAFB where Plaintiffs were employed throughout their careers. (See Compl., (Doc. No. 1),

¶¶ 5-7.) Regardless of which analysis applies, Plaintiffs’ state law claims are barred by the

federal enclave doctrine and should be dismissed.




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1.     Because Plaintiffs worked on KAFB, the federal enclave doctrine applies.

       In this case, the federal enclave issue was first presented to the Court in Sandia’s Rule 12

Motion to Dismiss. The argument was simple: “Throughout their employment with Sandia,

Plaintiffs have worked on Kirtland Airforce Base. Kirtland Airforce Base is a federal enclave.”

(Motion to Dismiss at 2 (citation omitted).) Both this Court and the Tenth Circuit have ruled that

state law claims are precluded when the plaintiff worked on KAFB. See Benavidez v. Sandia

National Laboratories, 212 F. Supp. 3d 1039, 1094-1097 (D.N.M. 2016); Allison v. Boeing

Laser Tech. Servs., 689 F.3d 1234, 1236 (10th Cir. 2012); Perkins v. Chugach Management

Servs., 2015 WL 13666993 (D.N.M. Feb. 18, 2015) (dismissing New Mexico Human Rights Act

claims where “employment activities” occurred entirely on KAFB); see also, Ramos v C. Ortiz

Corp., 2016 WL 10571684 (D.N.M. May 20, 2016) (federal enclave doctrine provides federal

jurisdiction where personal injury occurred on White Sands Missile Range).2 Sandia has never

abandoned its simple argument.

2.     Because KAFB is the locus of decision-making, the federal enclave doctrine applies.

       In response to Sandia’s Motion to Dismiss, Plaintiffs argued that because this case

purports to be a class action, the Court should look not to the place where the class

representatives worked, but rather to the place where the policies they challenge were made.

(See Pl.’s Opposition Mot. Dismiss State Law Claims & Mot. Conduct Jurisdictional Disc. (“Pl’s

Resp.”) (Doc. No. 18), at 1, 5-6.) Plaintiffs cited Camargo for the proposition that “[f]ederal

enclave jurisdiction is based on the locus of the relevant decision-making.”         (Id. at 1-2).



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   That Plaintiffs are asserting class claims does not change this result. The federal enclave
doctrine is grounded in the constitutional principle that Congress has exclusive authority over
federal lands. Benavidez, 212 F. Supp. 3d at 1094-95. As a result, employees employed on the
federal enclave do not have the benefit of state statutes that apply outside of the enclave,
regardless of how they choose to style their claims.


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Plaintiffs made the same argument in Plaintiffs’ Supplemental Submission in Support of

Plainitffs’ [sic] Opposition to Defendant’s Motion to Dismiss State Law Claims (“Plaintiffs’

Supplemental Brief”) (Doc. No. 60), at 2. In Plaintiffs’ view, if “final approval of all HR

policies[] has been located off base at IPOC,” the federal enclave doctrine does not preclude their

state law claims. (Id. at 4.)

        In its Reply in Support of Sandia’s Motion to Dismiss State Law Claims (“Reply”) (Doc.

No. 20), Sandia addressed this argument by explaining that, even if Camargo applied, Plaintiffs’

class claims do not challenge the policies and practices themselves but rather the

operationalization of those policies by first-line managers.     Specifically, Plaintiffs’ “claims

center on how those alleged policies were implemented by their managers on Kirtland Air Force

Base.” (Reply at 4, fn.2.) In its Supplemental Response, Sandia reiterated that “. . . each of the

named plaintiffs worked or works on the Kirtland Air Force Base and any decisions they are

challenging occurred there.” (Sandia’s Supp. Resp. at 5.) Therefore, whether the Court looks to

where Plaintiffs worked or where the decisions were made, the result is the same – dismissal is

appropriate.

3.      Under both Benavidez and Camargo, the result is the same.

        At the January 19 hearing, the Court expressed concern about whether the Federal

District Court for the Western District of Texas, in Camargo, applied an analysis of the federal

enclave doctrine that would also apply to state law claims brought in New Mexico. (Tr. at 4-5.)

The Court need not answer that question in this case because the result is the same whether the

Camargo rationale is applicable in New Mexico or not. Plaintiffs worked inside KAFB, so the

federal enclave doctrine applies under Allison, Benavidez, and Perkins. Alternatively, because

the decisions Plaintiffs challenge occurred inside KAFB, the federal enclave doctrine applies




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under the rationale used in Camargo. In either case, Plaintiffs cannot pursue their state law

claims in this lawsuit, and the Court should dismiss them.

Respectfully submitted,

RODEY, DICKASON, SLOAN, AKIN & ROBB, P.A.            MORGAN, LEWIS & BOCKIUS LLP

By     /s/ Jeffrey L. Lowry                          By Approved Electronically
    Scott D. Gordon                                       Grace E. Speights
    Theresa W. Parrish                                    Michael S. Burkhardt
    Jeffrey L. Lowry                                      Krissy A. Katzenstein
    Stephanie L. Latimer                             1111 Pennsylvania Avenue, NW
Post Office Box 1888                                 Washington, DC 20004-2541
Albuquerque, NM 87103-1888                           Telephone: (202) 739-3000
Telephone: (505) 765-5900                            Facsimile: (202) 739-3001
Facsimile: (505) 768-7395                            grace.speights@morganlewis.com
sgordon@rodey.com / tparrish@rodey.com               michael.burkhardt@morganlewis.com
jlowry@rodey.com / slatimer@rodey.com                krissy.katzenstein@morganlewis.com
Attorneys for Defendant Sandia Corporation           Attorneys for Defendant Sandia Corporation



                                 CERTIFICATE OF SERVICE

        I hereby certify that on the 31st day of January, 2018, I filed the foregoing pleading
electronically through the CM/ECF system, which caused all parties or counsel of record to be
served by electronic means.

                                             RODEY, DICKASON, SLOAN, AKIN & ROBB, P.A.

                                             By       /s/ Jeffrey L. Lowry
                                                  Jeffrey L. Lowry




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